     Case 2:20-cv-10383-DDP-KS Document 20 Filed 04/29/21 Page 1 of 1 Page ID #:129




1
2
3
4
5
6
7
8                             UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10
      BELINDA C. BEDELL,                )          NO. CV 20-10383-DDP (KS)
11                                      )
                    Plaintiff,
12                                      )
            v.                          )          ORDER ACCEPTING FINDINGS AND
13                                      )          RECOMMENDATIONS OF UNITED
14    WHITEMAN, et al,                  )          STATES MAGISTRATE JUDGE
                                        )
15                     Defendants.      )
16    _________________________________ )
17
18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, all of the records
19    herein, and the Report and Recommendation of United States Magistrate Judge (“Report”). The
20    time for filing Objections to the Report has passed, and no Objections have been filed with the
21    Court. Having completed its review, the Court accepts the findings and recommendations set
22    forth in the Report. Accordingly, IT IS ORDERED that: (1) the Complaint is DISMISSED;
23    and (2) Judgment shall be entered dismissing this action without prejudice.
24
25    DATED:      $SULO                        ____________                    __
26                                                             DEAN D. PREGERSON
                                                         UNITED STATES DISTRICT JUDGE
27
28
